              Case 3:22-cv-03053-TLT Document 120 Filed 09/02/22 Page 1 of 7



 1   MICHAEL D. LEFFEL, appearance pro hac vice
       mleffel@foley.com
 2   FOLEY & LARDNER LLP
     150 EAST GILMAN STREET, STE. 5000
 3   MADISON, WI 53703-1482
     TELEPHONE: 608-257-5035
 4   FACSIMILE: 608-258-4258
 5   Attorneys for Defendant
     ARC AUTOMOTIVE, INC.
 6
     Additional counsel listed on signature page
 7

 8
                                  UNITED STATES DISTRICT COURT
 9
                                NORTHERN DISTRICT OF CALIFORNIA
10
                                       SAN FRANCISCO DIVISION
11
     JOHN BRITTON, EVA JACINTO, CELESTE               Case No. 3:22-cv-03053-TLT
12   FELICE, GLENDA DILLON, STEPHEN
     GEARHART, PATRICIA JONES, MELISSA                STIPULATION AND [PROPOSED] ORDER
13   WARREN, NICOLE SENKPEIL, ENIKO                   RE STIPULATED ADMINISTRATIVE
     GEDO, JEREMY YOUNG, RHONDA HUNT                  MOTION TO CONFIRM BENCH RULING
14   MUHAMMED, KRISTEN LUIZ, ANTHONY
     RASPANTINI, FRANCINE LEWIS, and
15   MATTHEW KAKOL, on behalf of themselves           Complaint Filed: May 24, 2022
     and all others similarly situated,
16                                                    Hon. Trina L. Thompson
                                        Plaintiffs,
17
                   vs.
18
     ARC AUTOMOTIVE, INC., AUDI
19   AKTIENGESELLSCHAFT, AUDI OF
     AMERICA, LLC, BAYERISCHE MOTOREN
20   WERKE AKTIENGESELLSCHAFT, BMW OF
     NORTH AMERICA, LLC, FORD MOTOR
21   COMPANY, GENERAL MOTORS, LLC,
     JOYSON SAFETY SYSTEMS, DR. ING.
22   H.C.F. PORSCHE AG, POSRCHE CARS
     NORTH AMERICA, INC., TOYODA GOSEI
23   NORTH AMERICA, INC., VOLKSWAGEN
     AKTIENGESELLSCHAFT, and
24   VOLKSWAGEN GROUP OF AMERICA, INC.,

25                                    Defendants.

26

27

28

                         STIPULATION AND [PROPOSED] ORDER ON ADMINISTRATIVE MOTION
                                                              Case No. 3:22-cv-03053-TLT
              Case 3:22-cv-03053-TLT Document 120 Filed 09/02/22 Page 2 of 7



 1                                                STIPULATION
 2          Pursuant to L.R. 7-11(a) and 7-12, and as set forth more fully in the Stipulated Administrative
 3   Motion filed concurrently herewith, Plaintiffs John Britton, Eva Jacinto, Celeste Felice, Glenda Dillon,
 4   Stephen Gearhart, Patricia Jones, Melissa Warren, Nicole Senkpeil, Eniko Gedo, Jeremy Young, Rhonda
 5   Hunt Muhammed, Kristen Luiz, Anthony Raspantini, Francine Lewis, and Matthew Kakol (together,
 6   “Plaintiffs”) and Defendants ARC Automotive, Inc., Audi of America, LLC, Ford Motor Company,
 7   General Motors, LLC, Joyson Safety Systems, Toyoda Gosei North America, Inc., Volkswagen Group of
 8   America, Inc., Porsche Cars North America, Inc., and BMW of North America, LLC (together,
 9   “Defendants”) together stipulate that subject to the Court’s approval, all proceedings and deadlines in this
10   case are stayed pending the resolution of the Motion for Transfer of Actions to the Northern District of
11   Georgia and for Consolidation Pursuant to 28 U.S.C. § 1407, pending before the Judicial Panel on
12   Multidistrict Litigation as In re ARC Inflators Products Liability Litigation, MDL No. 3051.
13
     Dated: September 2, 2022                         /s/ Michael D. Leffel
14                                                   MICHAEL D. LEFFEL, appearance pro hac vice
                                                        mleffel@foley.com
15                                                   FOLEY & LARDNER LLP
                                                     150 EAST GILMAN STREET, STE. 5000
16                                                   MADISON, WI 53703-1482
                                                     TELEPHONE: 608-257-5035
17                                                   FACSIMILE: 608-258-4258
18                                                   JEFFREY A. SOBLE, appearance pro hac vice
                                                       jsoble@foley.com
19                                                   FOLEY & LARDNER LLP
                                                     321 NORTH CLARK STREET, STE. 3000
20                                                   CHICAGO, IL 60654-4762
                                                     TELEPHONE: 312-832-4500
21                                                   FACSIMILE: 312-832-4700
22                                                   MICHAEL A. NARANJO, CA Bar No. 221449
                                                       mnaranjo@foley.com
23                                                   FOLEY & LARDNER LLP
                                                     555 CALIFORNIA ST., STE. 1700
24                                                   SAN FRANCISCO, CA 94104-1520
                                                     TELEPHONE: 415-434-4484
25                                                   FACSIMILE: 415-434-4507
26                                           JOHN J. ATALLAH, CA Bar No. 294116
                                               jatallah@foley.com
27                                           KENDALL E. WATERS, CA Bar No. 329963
                                               kwaters@foley.com
28                                           FOLEY & LARDNER LLP
                                             555 SOUTH FLOWER ST., STE. 3300
                          STIPULATION AND [PROPOSED] ORDER ON ADMINISTRATIVE MOTION
                                              -1-                 Case No. 3:22-cv-03053-TLT
             Case 3:22-cv-03053-TLT Document 120 Filed 09/02/22 Page 3 of 7



 1                                        LOS ANGELES, CA 90071-2418
                                          TELEPHONE: 213-972-4500
 2                                        FACSIMILE: 213-486-0065
 3                                        Attorneys for Defendant ARC Automotive, Inc.
 4
     Dated: September 2, 2022             /s/ Elizabeth T. Castillo
 5                                        Niall P. McCarthy (SBN 160175)
                                          nmccarthy@cpmlegal.com
 6                                        Elizabeth T. Castillo (SBN 280502)
                                          ecastillo@cpmlegal.com
 7                                        Kevin J. Boutin (SBN 334965)
                                          kboutin@cpmlegal.com
 8                                        COTCHETT, PITRE & McCARTHY, LLP
                                          840 Malcolm Road, Suite 200
 9                                        Burlingame, CA 94010
                                          Tel: (650) 697-6000
10
                                          Matthew D. Schultz (admitted pro hac vice)
11                                        mschultz@levinlaw.com
                                          William F. Cash (admitted pro hac vice)
12                                        bcash@levinlaw.com
                                          Scott Warrick (admitted pro hac vice)
13                                        swarrick@levinlaw.com
                                          LEVIN, PAPANTONIO, RAFFERTY, PROCTOR,
14                                        BUCHANAN, O’BRIEN, BARR & MOUGEY, P.A.
                                          316 S. Baylen St., Suite 600
15                                        Pensacola, FL 32502
                                          Tel: (850) 435-7140
16
                                          R. Frank Melton, II (admitted pro hac vice)
17                                        melton@newsomelaw.com
                                          C. Richard Newsome (admitted pro hac vice )
18                                        newsome@newosmelaw.com
                                          William C. Ourand, Jr. (admitted pro hac vice)
19                                        ourand@newsomelaw.com
                                          NEWSOME MELTON, P.A.
20                                        201 S. Orange St., #1500
                                          Orlando, FL 32801
21                                        Tel: (407) 280-1433
22                                        Courtney L. Davenport (admitted pro hac vice)
                                          courtney@thedavenportlawfirm.com
23                                        THE DAVENPORT LAW FIRM, LLC
                                          18805 Porterfield Way
24                                        Germantown, MD 20874
                                          Tel: (703) 901-1660
25
                                          Counsel for Plaintiffs & the Proposed Classes
26
     Dated: September 2, 2022              /s/ Amir M. Nassihi
27                                        Amir M. Nassihi (SBN 235936)
                                          anassihi@shb.com
28                                        SHOOK HARDY & BACON L.L.P.
                                          555 Mission Street, Suite 2300
                       STIPULATION AND [PROPOSED] ORDER ON ADMINISTRATIVE MOTION
                                                            Case No. 3:22-cv-03053-TLT
             Case 3:22-cv-03053-TLT Document 120 Filed 09/02/22 Page 4 of 7



 1                                        San Francisco, CA 94105
                                          (415) 544-1900
 2                                        Fax: (415) 391-0281
 3                                        R. Kent Warren (pro hac vice application pending)
                                          kwarren@mcguirewoods.com
 4                                        Abigail A. Golden (admitted pro hac vice)
                                          agolden@mcguirewoods.com
 5                                        MCGUIREWOODS LLP
                                          201 N. Tryon St., Suite 3000
 6                                        Charlotte, NC 28201
                                          704-343-2365
 7                                        Fax: 704-805-5081
 8                                        Perry Watson Miles, IV (admitted pro hac vice)
                                          pmiles@mcguirewoods.com
 9                                        MCGUIREWOODS LLP
                                          Gateway Plaza
10                                        800 East Canal Street
                                          Richmond, VA 23219
11                                        804-775-1039
12                                        Attorneys for Defendant Ford Motor Company
13
     Dated: September 2, 2022             /s/ April Nelson Ross
14                                        April Nelson Ross (admitted pro hac vice)
                                          aross@crowell.com
15                                        Rachel P. Raphael (admitted pro hac vice)
                                          rraphael@crowell.com
16                                        CROWELL & MORING LLP
                                          1001 Pennsylvania Avenue NW
17                                        Washington, DC 20004
                                          (202) 624-2500
18
                                          Mariam Sarwar, I (SBN 329895)
19                                        msarwar@crowell.com
                                          CROWELL & MORING LLP
20                                        515 South Flower Street, 40th floor
                                          Los Angeles, CA 90071
21                                        269-719-5582
22                                        Nathaniel Philip Bualat (SBN 226917)
                                          nbualat@crowell.com
23                                        CROWELL & MORING LLP
                                          Three Embarcadero Center, 26th Floor
24                                        San Francisco, CA 94111
                                          (415) 986-2800
25                                        Fax: (415) 986-2827
26                                        Attorneys for Defendant General Motors, LLC
27
     Dated: September 2, 2022             /s/ Benjamin W. Jeffers
28                                        Benjamin W. Jeffers (admitted pro hac vice)
                                          bjeffers@hhbjs.com
                       STIPULATION AND [PROPOSED] ORDER ON ADMINISTRATIVE MOTION
                                                            Case No. 3:22-cv-03053-TLT
             Case 3:22-cv-03053-TLT Document 120 Filed 09/02/22 Page 5 of 7



 1                                        Andrew M. Gonyea (admitted pro hac vice)
                                          agonyea@hhbjs.com
 2                                        HICKEY HAUCK BISHOFF JEFFERS & SEABOLT,
                                          PLLC
 3                                        1 Woodward Ave
                                          Suite 2000
 4                                        Detroit, MI 48226
                                          313-964-8600
 5                                        Fax: 313-964-8601
 6                                        Attorneys for Defendant Key Safety Systems d/b/a Joyson
                                          Safety Systems
 7

 8   Dated: September 2, 2022            /s/ Lisa R. Weddle
                                           David L. Schrader (SBN 149638)
 9                                         dschrader@morganlewis.com
                                           Lisa R. Weddle (SBN 259050)
10                                         lisa.weddle@morganlewis.com
                                           MORGAN LEWIS AND BOCKIUS LLP
11                                         300 South Grand Avenue, 22nd Floor
                                           Los Angeles, CA 90071
12                                         213-612-2500
                                           Fax: 213-612-2501
13
                                          Mark Andrew Feller (SBN 319789)
14                                        mark.feller@morganlewis.com
                                          MORGAN LEWIS BOCKIUS LLP
15                                        One Market, Spear Street Tower
                                          San Francisco, CA 94105-1596
16                                        415-442-1000
17                                        Attorneys for Defendant Toyoda Gosei North America, Inc.
18
     Dated: September 2, 2022             /s/ Livia M. Kiser
19                                        Livia M. Kiser (SBN 285411)
                                          lkiser@kslaw.com
20                                        Michael B. Shortnacy (SBN 277035)
                                          mshortnacy@kslaw.com
21                                        Susan V. Vargas (SBN 177972)
                                          svargas@kslaw.com
22                                        KING & SPALDING LLP
                                          633 West Fifth Street, Suite 1600
23                                        Los Angeles, CA 90071
                                          Telephone: +1 213 443 4355
24                                        Facsimile: +1 213 443 4355
25                                        Attorneys for Defendants Volkswagen Group of
                                          America, Inc. and Audi of America, LLC
26

27   Dated: September 2, 2022             /s/ Derek Scott Whitefield
                                          Derek Scott Whitefield
28                                        dwhitefield@dykema.com
                                          Tamara A. Bush
                       STIPULATION AND [PROPOSED] ORDER ON ADMINISTRATIVE MOTION
                                                            Case No. 3:22-cv-03053-TLT
                Case 3:22-cv-03053-TLT Document 120 Filed 09/02/22 Page 6 of 7



 1                                                   tbush@dykema.com
                                                     DYKEMA GOSSETT LLP
 2                                                   333 South Grand Avenue, Suite 2100
                                                     Los Angeles, CA 90071
 3                                                   Telephone: 213-457-1800
                                                     Facsimile: 213-457-1850
 4
                                                     Attorneys for Defendant Porsche Cars North
 5                                                   America, Inc.
 6   Dated: September 2, 2022                        /s/ Eric Y. Kizirian
                                                     Eric Y Kizirian
 7                                                   eric.kizirian@lewisbrisbois.com
                                                     Zourik Zarifian
 8                                                   zourik.zarifian@lewisbrisbois.com
                                                     LEWIS BRISBOIS BISGAARD AND SMITH
 9                                                   633 West Fifth Street, Suite 4000
                                                     Los Angeles, CA 90071
10                                                   Telephone: 213-250-1800
                                                     Facsimile: 213-250-7900
11
                                                     Attorneys for Defendant BMW of North America, LLC
12

13

14                                        ATTORNEY ATTESTATION
               I, Michael D. Leffel, am the ECF User whose ID and password are being used to file this
15
     document. In compliance with Civil L.R. 5-1(h)(3), I hereby attest that all counsel have concurred in this
16
     filing.
17

18
                                                   /s/ Michael D. Leffel
19

20

21

22

23

24

25

26

27

28

                           STIPULATION AND [PROPOSED] ORDER ON ADMINISTRATIVE MOTION
                                                                Case No. 3:22-cv-03053-TLT
              Case 3:22-cv-03053-TLT Document 120 Filed 09/02/22 Page 7 of 7



 1                                           [PROPOSED] ORDER
 2          Having reviewed the Administrative Motion and Stipulation submitted jointly by the parties, the
 3   Court confirms, consistent with the August 29, 2022, minute order, that all proceedings and deadlines in
 4   this case are stayed pending the resolution of the Motion for Transfer of Actions to the Northern District
 5   of Georgia and for Consolidation Pursuant to 28 U.S.C. § 1407, pending before the Judicial Panel on
 6   Multidistrict Litigation as In re ARC Inflators Products Liability Litigation, MDL No. 3051.
 7          IT IS SO ORDERED.
 8

 9   Dated: _______________, 2022                 ______________________________
10                                                The Honorable Trina L. Thompson
                                                  United States District Judge
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                         STIPULATION AND [PROPOSED] ORDER ON ADMINISTRATIVE MOTION
                                                              Case No. 3:22-cv-03053-TLT
